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IN TI-IE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

RIO REAL ESTATE INVESTMENT
OPPORTUNITIES, LLC, a NeW Mexico
limited liability company,
Plaintiff,
vs. Case Number: l:12-cv-00758-JAP~ACT

TESLA MOTORS, I`NC., a Delaware
corporation,

Defendant.

FIRST AMENDED COMPLAINT FOR
NEGLIGENT MISREPRESENTATION AND FRAUD

COMES N`OW Plaintiff, by and through its attorneys, Lastrapes, Spangler &
Pacheco, P.A. (By: Christopher M. Pacheco and LeeAnn Werbelow), and for its First Amended
Complaint states as follows:
GENERAL ALLEGATIONS

1. Plaintiff Rio Real Estate Investment Opportunities, LLC, is a NeW Mexico limited
liability company and is duly authorized to transact business in Bernalillo County, New Mexico.

2. Upon information and belief, Tesla Motors, lnc. is a Delaware corporation duly
authorized to do business in New Mexico.

3. The Project (as hereinafter detined) Which is the subject of this Complaint is
located in Bernalillo County, New MeXico.

4. This Court has jurisdiction over the persons and subject matter involved in this

dispute.

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FACTUAL ALLEGATIONS

5. Plaintiff realleges and incorporates the allegations set forth in Paragraphs l
through 4 as if fully set forth herein.

6. Pl,aintiff, individually and by and through its related and affiliated entities, is the
developer of certain real property located i`n Bernalillo County, NeW Mexico commonly known
as the Cordero Mesa Business Parl< (the “Property”).

7. Throughout 2006 and 2007 Tesla chairman Elon Muslc (“Muslc”), Tesla employee
Ron Lloyd (“Lloyd”) and Tesla CEO Martin Eberhard (“Eberhard”) (all acting as agents of
Defendant) took substantial actions, engaged in numerous meetings and made a number of
statements that Det`endant Was constructing a facility in Albuquerque, NevvT Mexico in April
2007.

8. On February 19, 2007, Musk and Eberhard, along With then Govemor Bill
Richardson, publically announced in Albuquerque, NeW Mexico that Defendant Was going to
construct a 150,000 square foot plant in Albuquerque and that construction of the plant Would
begin in April 2007.

9. The announcement Was made in releases to local media, at the Albuquerque
Economic Development quarterly luncheon and elsewhere

10. At such time, Eberhard and Musk represented to Plaintiff that Det`endant had
selected the Property for the Project (det`lned below) and Plaintiff Would construct the Facility
(detined belovv).

11. Musk, on behalf of Defendant, stated that although several locations had been

evaluated, NeW Mexico and Albuquerque turned out to be the clear Winners.

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12. On February 19, 2007, Plaintiff and Defendant entered into a Development
Agreement dated February 19, 2007 {the “Development Agreement”) (a copy of the
Development Agreement is attached hereto as Exhibit A).

13. The Development Agreement contains specific representations made by
Defendant.

14. The Development Agreement provided that Plaintiff Was to construct (or cause to
be constructed) a 150,000 square foot facility (the “Facility”) for the manufacturing of electronic
vehicles (the “Proj ect”).

15. Defendant Was to lease the Facility for a period often years.

16. The agreed upon rental rate for the Facility Was $1,350,000.00 annually With a
two percent (2%) annual increase.

17. The D`evelopment Agreement sets forth the rental amounts for the Facility and
bonuses that Were agreed upon for the Project.

18. In reliance on the Developmen.t Agreement and the public and private statements
made by Defendant (through its agents Eberhard and Musk), Plaintiff immediately acted to
implement construction of the Facility and continued to do so in reliance on the initial and
continued representations of Defendant.

19. Plaintiff assembled a team consisting of an engineering/architecture flrm, a
general contractor and other subcontractors and developers that Would be involved in the i
development, construction and ownership of the Facility (collectively the “Development Team”). l

20. On February 28, 2007, Plaintiff held the first of numerous meetings to design and
construct the Facility. Ron Lloyd (“Lloyd”) and Yannick Roux (“Roux”) attended this meeting

and employees/agents of Defendant.

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21. Plaintiff consistently held weekly or bi-weekly meetings with Various members of
the Development Team and employees of Defendant.

22. Beginning in February 2007 and throughout 2007 employees of Defendant,
including Lloyd and Roux, made regular trips to New Mexico and participated in the meetings
With the Development Team.

23. At least through June 2007, these meetings continued bi-weekly or more often

24. Specifically, Defendant attended at least the following meetings: February 28,
2007 (Roux and Lloyd); March 21, 2007 (Eberhard, Thomas, Roux and Lloyd); March 28, 2007
(Thomas, Roux and Lloyd); April 4, 2007 (Roux, Lloyd and Thomas); April ll, 2007 (Roux,
Lloyd and Thomas)', April 25, 2007 (Thomas, Lloyd and Roux)', May 2, 2007 (Roux, Lloyd and
Thomas): May 9, 2007 (Roux and Lloyd); May 16, 2007 (Roux); May 23, 2007 (Thomas, Lloyd
and Roux); May 30, 2007 (Thomas, Lloyd and Roux); June 6, 2007 (Thomas, Lloyd and Roux);
and June 13, 2007 (Thomas, Roux and Lloyd).

25. At each of these meetings, Lloyd, Roux and the other present employees/agents of
Def`endant represented that Defendant was proceeding with the Proj ect in New Mexico and
Plaintiff was constructing the Facility.

26. At no time did Defendant or any employee or agent of Defendant make a
statement to Plaintiff that the Proj ect was still in a conceptual phase, the Proj ect location was still
being determined or that all of the discussions were merely preliminary discussions

27, In reliance on Def`endant’s representations, Plaintiff and the Development Team
conducted soil tests, obtained governmental approvals, designed and engineered parts of the
Facility, assisted Defendant to obtain commitments for governmental funding, made numerous

changes and revisions to plans for the Facility and otherwise satisfied those obligations under the

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Development Agreement which it could complete prior to Defendant’s election not to proceed
with the Project in New Mexico.

28. Through 2007 and into 2008, Defendant continued its correspondence and
interactions with Plaintiff regarding the Project and the specifications of the construction and
development of the Facility.

29. As late as September 2007, Defendant, through spokesperson Daryl Siry, publicly
confirmed through a press release Defendant’s commitment to construct the Facility and proceed
with the Proj ect, but requested more time to decide on final manufacturing details such as vehicle
options and production volume.

30. In Ianuary 2008, Defendant requested additional information from Plaintiff on
tire protection systems for the Facility.

31. Despite Defendant’s and its agents’ numerous and specific statements and
commitments to Plaintiff to proceed with the Project in the New Mexico and construct the
Facility, throughout 2007 and in 2008, Defendant was evaluating locations outside of NeW
Mexico for the Proj ect and was actively negotiating with local and state officials in California to
locate the Project in Cal.ifornia.

32. On or around July 1, 2008, Musl<, Ze"ev Drori and the then Governor of
California made an announcement that Defendant would be locating the Project in California

33. At the time of each representation made by Defendant or Defendant’s agents and
employees to Plaintiffs, Defendant knew that Defendant was still evaluating where to locate the
Proj ect and was pursuing agreements with the State of California to obtain incentives to locate

the Project in California.

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34. Defendant's fraudulent conduct and misrepresentations caused Plaintiff to sustain
substantial loss of revenues and profits and other general, special and consequential damages

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NEGLIGENT MISREPRESENTATION

35. Plaintiff realleges and incorporates the allegations set forth in Paragraphs l
through 34 as if fully set forth herein.

36. Defendant represented to Plaintiff that it would construct and lease the Facility
and operate the Proj ect on the Property.

37. Throughout 2007 and into 2008, Defendant engaged Plaintiff in substantial
meetings and planning and Plaintiff engaged in such activities in reliance on Defendant’S
representations that the Proj ect would be completed in New Mexico.

38. After Defendant’s failure to construct the Facility in accordance with the
Development Agreement, Defendant, through its employee and agent Lloyd, continued to
represent and warrant that it would review and address Plaintiffs and the Development Team’s
costs and expenses

39. These representations were false or misleading

40. lt was foreseeable that Plaintiff could be harmed by incorrect or misleading
statements regarding the Proj ect and the Facility.

41. Plaintiff reasonably relied upon the representations of Defendant

42. As a proximate result of Defendant’s negligent misrepresentations Plaintiff has

suffered and will continue to suffer general, special and consequential damages

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COUNT II
FRAUD

43. Plaintiff realleges and incorporates the allegations set forth in Paragraphs l
through 42 as if fully set forth herein.

44. The representations made by Defendant in the Development Agreement; the
representations made by Defendant, through Musk and Eberhard, on February 19, 2007 in its
public announcement; the representations made by Defendant, through Lloyd and Roux, at each
of the planning meetings attended by Defendant; the representations made by Defendant, through
Siry, as late as September 2007, and the other representations and statements set forth above that
the Facility would be constructed and the Project located in Albuquerque when and even though
Defendant was evaluating locations outside of New Mexico for the Project and negotiating with
state and local officials in California to locate the Project in California constitute fraud.

45. The actions of Defendant attending planning meetings; making changes and
revisions to site plans; requesting additional design information and otherwise taking actions in
furtherance of the representations made in the Development Agreement and construction of the
Facility throughout 2007 and into 2008, while simultaneously evaluating locations outside of
New Mexico for the Project and negotiating with state and local officials in California constitute
fraud.

46. The further action of Defendant intentionally concealing its intent to abandon the

Project after over a year of assurances and perpetual preparation constitutes fraud.

47. Defendant’s actions were willful, wanton and in reckless disregard of the rights of

Plaintiff.

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48.

As a result of such fraudulent acts and representations Plaintiff has suffered and

continues to suffer substantial general, special and consequential damages

49.

Plaintiff is entitled to punitive damages as a result of Defendant’s fraudulent acts

WHEREFORE, Plaintiff prays as follows:

A. For a judgment against Defendant and in favor of Plaintiff for negligent
misrepresentation;

B. For a judgment against Defendant and in favor of Plaintiff for fraud;

C. For an award of punitive damages;

D. For attorney’s fees and costs incurred by Plaintiff in this action; and

E. For such other and further relief as the Court deems just and proper.

Respectfully submitted,

 
   
 

' oph/er M. Pacheco

` eeAnn Werbelow

Attorneys for Plaintiff

Post Office Box 15698

Rio Rancho, New Mexico 87174 l_
Telephone: (505) 892~3607 l
Facsimile: (505) 892-1864

 

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